         Case 5:15-cv-00634-G Document 467 Filed 05/18/22 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF OKLAHOMA


DUANE & VIRGINIA LANIER TRUST,             Case No. 5:15-CV-00634-G
Individually and On Behalf of All Others
Similarly Situated,                        CLASS ACTION

                          Plaintiffs,

v.

SANDRIDGE MISSISSIPPIAN TRUST I,
SANDRIDGE MISSISSIPPIAN TRUST II,
TOM L. WARD, JAMES D. BENNETT,
MATTHEW K. GRUBB, RANDALL D.
COOLEY, JIM J. BREWER, EVERETT R.
DOBSON, WILLIAM A. GILLILAND,
DANIEL W. JORDAN, ROY T. OLIVER,
JR., JEFFREY S. SEROTA, D. DWIGHT
SCOTT, RAYMOND JAMES &
ASSOCIATES, INC., MORGAN
STANLEY & CO. LLC (F/K/A MORGAN
STANLEY & CO INC.), MERRILL
LYNCH, PIERCE, FENNER & SMITH,
INC., CITIGROUP GLOBAL MARKETS
INC., and RBC CAPITAL MARKETS,
LLC,

                          Defendants.

SANDRIDGE ENERGY, INC.,

                    Nominal Defendant.



 NOTICE OF NON-OPPOSITION TO PLAINTIFFS’ UNOPPOSED MOTION
FOR ENTRY OF ORDER PRELIMINARILY APPROVING SETTLEMENT AND
              ESTABLISHING NOTICE PROCEDURES
         Case 5:15-cv-00634-G Document 467 Filed 05/18/22 Page 2 of 4




      Lead Plaintiffs the Duane & Virgina Lanier Trust, Ivan Nibur, Jase Luna, Matthew

Willenbucher, and Reed Romine (collectively, “Plaintiffs”) respectfully submit this notice

of non-opposition to the Unopposed Motion for Entry of Order Preliminarily Approving

Settlement and Establishing Notice Procedures (the “Motion”) (Dkt. No. 461). The Motion

was filed on November 16, 2021 and unopposed at the time. Furthermore, pursuant to Local

Civil Rule 7.1(g), the deadline to oppose the Motion was December 7, 2021. The

opposition deadline has passed, and no opposition was filed, thus the Motion remains

unopposed.

      Accordingly, Plaintiffs request that the Court grant the motion so that notice of the

Settlement can be issued to Settlement Class Members and the Settlement can proceed to

the final approval stage where the Court will weight the merits of the Settlement and

determine whether the Settlement is fair, reasonable, and adequate.

DATED: May 18, 2022                             /s/ Jonathan Horne

                                                Jonathan Horne (Admitted Pro Hac
                                                Vice)
                                                Phillip Kim (Admitted Pro Hac Vice)
                                                Laurence M. Rosen (Admitted Pro Hac
                                                Vice)
                                                THE ROSEN LAW FIRM, P.A
                                                275 Madison Avenue, 34th Floor
                                                New York, New York 10016
                                                Telephone: (212) 686-1060
                                                Fax: (212) 202-3827
                                                Email: jhorne@rosenlegal.com
                                                Email: pkim@rosenlegal.com
                                                Email: lrosen@rosenlegal.com

                                                Lead Counsel for Plaintiffs




                                        1
Case 5:15-cv-00634-G Document 467 Filed 05/18/22 Page 3 of 4




                                Nicholas G. Farha, OBA #21170
                                FARHA LAW, PLLC
                                1900 NW Expressway, Suite 501
                                Oklahoma City, Oklahoma 73118
                                Telephone: (405) 471-2224
                                Facsimile: (405) 810-9901
                                Email: nick@farhalawfirm.com

                                Liaison Counsel for Plaintiffs

                                Joshua E. Fruchter (Admitted Pro Hac Vice)
                                WOHL & FRUCHTER, LLP
                                25 Robert Pitt Drive, Suite 209G
                                Monsey, NY 10952
                                Telephone: (845) 290-6818
                                Facsimile: (718) 504-3773
                                Email: jfruchter@wohlfruchter.com

                                Additional Plaintiffs’ Counsel




                          2
          Case 5:15-cv-00634-G Document 467 Filed 05/18/22 Page 4 of 4




                             CERTIFICATE OF SERVICE

       I hereby certify that on May 18, 2022, a true and correct copy of the foregoing

NOTICE OF NON-OPPOSITION TO UNOPPOSED MOTION FOR ENTRY OF

ORDER PRELIMINARILY APPROVING SETTLEMENT AND ESTABLISHING

NOTICE PROCEDURES with the Clerk of the Court using the CM/ECF system, which

sent notification of such filing to counsel of record.


Executed on May 18, 2022                           /s/ Jonathan Horne
                                                   Jonathan Horne




                                           3
